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                      IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


                                                    :
        UNITED STATES OF AMERICA                    :
                                                    :
                           v.                       :
                                                    :   3:23-CR-00026 (KAD)
        GLENN OZTEMEL and                           :
        EDUARDO INENECCO                            :
                                                    :



                         GLENN OZTEMEL’S MOTION TO SEAL

        Pursuant to District of Connecticut Local Rule 57, Defendant Glenn Oztemel, by and

through undersigned counsel, respectfully submits this motion to seal portions of his

Memorandum of Law in Support of his August 25, 2023, Motion to Compel, portions of the

August 25, 2023, Declaration of Nelson A. Boxer, and Exhibits D-I thereto, and to file redacted

versions at the same time as filing this Motion to Seal. We make this motion because the

Memorandum, Declaration and Exhibits includes references to, and quotes from, materials that

have been identified by the government as containing Protected Discovery Materials pursuant to

Section H of the Local Rules Standing Order on Discovery.

       We respectfully direct the Court to the standards and case law set forth in our June 21,

2023, Motion to Seal in Support of our first motion to compel (ECF No. 55), which was based

upon the same reasons as the instant motion, and which was granted by the Court (ECF No. 62).




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Dated: New York, New York
      August 25, 2023                          Respectfully Submitted,



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